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                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                     PORTLAND DIVISION


                                                  Case No.: 3:22-cv-00637
C.T.,

        Plaintiff,                                DECLARATION OF JASON FOSBERG
                                                  IN SUPPORT OF DEFENDANTS’
                 vs.                              RESPONSE TO PLAINTIFF’S MOTION
                                                  TO REMAND

JASON FOSBERG, an individual; RED
ROBIN INTERNATIONAL, INC., a Nevada
corporation,

        Defendants.



        I, Jason Fosberg, hereby declare and state as follows:

        1.       My name is Jason Fosberg, and I am over the age of eighteen-years-old. I am of

sound mind and otherwise competent to give this Declaration. The matters set forth in this


 Page 1 – DECLARATION OF JASON FOSBERG IN SUPPORT OF                   Jackson Lewis P.C.
 DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION TO                     200 SW Market St. Ste. 540
 REMAND                                                                 Portland OR 97201
                                                                 (503) 229-0404 ǀ (503) 229-0405
                                                                               (fax)
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Declaration are, unless stated otherwise, based upon my personal knowledge and are true and

correct under the penalty of perjury. If called to testify, I would testify as follows:

       2.       I am the General Manager of the Red Robin (“the Restaurant”) located at

Clackamas Town Center in Portland, Oregon. I have been a General Manager at this restaurant

since July 22, 2019. As the General Manager I am generally responsible for running the restaurant.

       3.       I was on duty on March 24, 2021, when C.T. dined at the restaurant. On March 24,

2021, Red Robin was required to follow COVID-19 regulations applicable to indoor dining

establishments located in Clackamas County. COVID-19 protocols limited the number of

individuals who could sit at one table. As of March 24, 2021, only six people could sit at one

table. It was Red Robin’s policy to follow state and local COVID-19 restrictions.

       4.       As a general matter, guests at the Clackamas Town Center Red Robin are greeted

and seated by a host. Once the guest is seated, a server will take the guest’s order through a

handheld device. The order is electronically sent to the kitchen through this device. The line

cooks are responsible for making hot entrees like, in this case, a Royal Burger. Once the entrée

has been made, the line cook places the plate on the shelf. The line cooks also prepare side salads

and fries and place those items on the shelf as well. The service partners complete the order by

adding anything else necessary (such as sauces, side salads, or fries), inspect the plate, and deliver

the order to the guests. Depending on how busy it is, a server may run food from the kitchen to

the guest and/or bus tables if necessary. Ordinarily, however, this is done by the service partners.

       5.       During the majority of the time that C.T. and his group were dining, I was in the

kitchen placing Red Robin signature steak fries in baskets. It was a busy night, and I was helping

to get orders plated and out to guests. I had just left the kitchen for my office and was preparing

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to leave when I was approached by Assistant Manager, Christian O’Conner. Prior to learning from

Mr. O’Conner that C.T. had a complaint about his food, I had not had any interactions with C.T.

       6.       Per Mr. O’Conner’s request, I approached C.T.’s table to discuss an alleged foreign

food object in his salad. C.T. and two children were still present in the restaurant; however, the

other individuals in C.T.’s party were not present. When I approached C.T., C.T. asserted that

Red Robin was a racist company because his group was not permitted to sit together while other

Caucasian families were able to sit together. I explained the COVID guidelines to C.T., apologized

for the inconvenience, and stated there was nothing I could do. C.T. then stated that he found

semen in his salad and showed me a napkin containing a translucent substance. I asked if the

substance could be egg whites since C.T. had a Royal Burger, which contains a fried egg. C.T.

replied that it was not an egg and insisted that it was semen. I took a picture of the napkin, gave

C.T. a container for it along with my business card, and completed an incident report that had been

started by Mr. O’Conner. We also did not charge C.T. for any portion of his meal. After C.T.

took my business card, he left the restaurant.

       7.       Prior to the interaction referenced in paragraph 6 of this declaration, I had not

interacted with C.T. or his party in any way. I did not seat the party, did not make C.T.’s salad,

did not take their order, and did not deliver their food.

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         8.       I never referred to C.T.’s party as a “big gang.” When I spoke with C.T., there were

only four individuals present. I did not observe how many individuals were in C.T.’s original

party.

         I declare under penalty of perjury, under the laws of the United States of America, that the

foregoing is true and correct.

DATED: June 24, 2022 at Clackamas, Oregon.




                                                s/ Jason Fosberg
                                                Jason Fosberg




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                                   DECLARATION OF SERVICE

         I hereby certify that I served the foregoing DECLARATION OF JASON FOSBERG IN

SUPPORT OF DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION TO REMAND

via:

               Electronic Mail

               US Postal Service

          ◼ CM/ECF

               Facsimile Service
               Hand Delivery

               UPS


as follows on the date stated below:

         Gregory Kafoury, OSB #741663
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         Portland, OR 97204

                  Attorneys for Plaintiff


DATED this 24th day of June, 2022.

                                                   By: s/ Delores Petrich
                                                         Delores Petrich
4859-8806-6086, v. 1




 Page 5 – DECLARATION OF SERVICE                                          Jackson Lewis P.C.
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